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Based upon information contained in I.C. File LH-0368 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1. Decedent, Jeffrey Ryan Shelton, was a Police Officer with the Charlotte-Mecklenburg Police Department at the time of his death on 31 March 2007.
2. Decedent's death occurred in the course and scope of his employment as follows: On 31 March 2007, decedent responded with fellow Officer Sean R. Clark to a call of a domestic dispute on Barrington Drive, Charlotte. While at the scene, Officer Shelton was shot once in the head from behind. Plaintiff was pronounced dead at approximately 2315 hours as a result of gunshot wounds of the head.
3. Decedent was survived by his wife, Jennifer E. Shelton, who resided with decedent at the time of his death. There are no minor children of the marriage.
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Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW *Page 2 
1. Decedent was an eligible law enforcement officer, as defined in N.C. Gen. Stat. § 143-166.2(d), with the Charlotte-Mecklenburg Police Department at the time of his death on 31 March 2007.
2. Decedent is survived by his wife, Jennifer E. Shelton, who is eligible for the award of death benefits under N.C. Gen. Stat. §143-166.1 et seq.
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
1. The sum of $50,000.00 is hereby awarded to Jennifer E. Shelton as the qualified surviving spouse of Jeffrey Ryan Shelton, payable as follows: the sum of $20,000.00 shall be paid immediately to Jennifer E. Shelton. Thereafter, the sum of $10,000.00 shall be paid annually to Jennifer E. Shelton as long as she remains unmarried until such time as the balance of all payments equal $50,000.00. This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 et seq. If Jennifer E. Shelton becomes ineligible for benefits before the Award is fully paid, the balance of the payments under this Award shall be made to other eligible person(s).
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the 31st day of May 2007.
  S/___________________ J. BRAD DONOVAN DEPUTY COMMISSIONER
CONCURRING:
  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
  S/___________________ DANNY LEE MCDONALD COMMISSIONER